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010




                                                                         Exhibit A
                                                                            010
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011




                                                                         Exhibit A
                                                                            011
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012




                                                                         Exhibit A
                                                                            012
  Case 2:22-cv-01806 Document 2-1 Filed 03/18/22 Page 4 of 12 Page ID #:15
013




                                                                         Exhibit A
                                                                            013
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014




                                                                         Exhibit A
                                                                            014
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015


               ADDENDUM OF ADDITIONAL EMPLOYERS


RE:   Chris Manderino v. Kansas City Chiefs, et. al.


EMPLOYER                                  CARRIER

Cincinnati Bengals                        Self-Insured
1 Bengals Drive
Cincinnati, OH 45204

Dates of Employment:
05/05/2006 – 04/14/2008




                                                                         Exhibit A
                                                                            015
  Case 2:22-cv-01806 Document 2-1 Filed 03/18/22 Page 7 of 12 Page ID #:18
016




                                                                         Exhibit A
                                                                            016
  Case 2:22-cv-01806 Document 2-1 Filed 03/18/22 Page 8 of 12 Page ID #:19
017




                                                                         Exhibit A
                                                                            017
  Case 2:22-cv-01806 Document 2-1 Filed 03/18/22 Page 9 of 12 Page ID #:20
018




                                                                         Exhibit A
                                                                            018
 Case 2:22-cv-01806 Document 2-1 Filed 03/18/22 Page 10 of 12 Page ID #:21
019




                                                                        Exhibit A
                                                                           019
 Case 2:22-cv-01806 Document 2-1 Filed 03/18/22 Page 11 of 12 Page ID #:22
020


 1 Uniform Assigned Name: BETTS LAW SAN DIEGO
   EAMS Administrator Name: Thomas Betts
 2 EAMS Telephone No.: (619) 930-5474
   EAMS Administrator Email: tom@prosportsinjury.com
 3

 4                       CALIFORNIA STATE COURT PROOF OF SERVICE

 5                              Chris Manderino v. Kansas City Chiefs, et. al.
                                       WCAB Case No.: Unassigned
 6

 7           At the time of service, I was over 18 years of age and not a party to the action. My
      business address is 2305 Historic Decatur Rd. Ste. 100, San Diego, CA 92106.
 8
             On November 16, 2021, I served the following document(s):
 9
             -   APPLICATION FOR ADJUDICATION OF CLAIM
10           -   DWC-1 CLAIM FORM
11           -   VENUE AUTHORIZATION
             -   FEE DISCLOSURE STATEMENT
12           -   4906(H) DECLARATION (ATTORNEY & APPLICANT)

13          I served the documents on the following persons at the following addresses (including fax
      numbers and e-mail addresses, if applicable):
14
                                     SEE ATTACHED SERVICE LIST
15
             The documents were served by the following means:
16
            (BY U.S. MAIL) I enclosed the documents in a sealed envelope or package addressed to
17           the persons at the addresses listed above and (specify one):
18                  Deposited the sealed envelope or package with the U.S. Postal Service, with the
      postage fully prepaid.
19
                  Placed the envelope or package for collection and mailing, following our ordinary
20 business practices. I am readily familiar with the firm’s practice for collection and processing
   correspondence for mailing. Under that practice, on the same day that correspondence is placed for
21 collection and mailing, it is deposited in the ordinary course of business with the U.S. Postal
   Service, in a sealed envelope or package with the postage fully prepaid.
22
           I declare under penalty of perjury under the laws of the State of California that the
23 foregoing is true and correct.

24           Executed on November 16, 2021, at San Diego, California.
25

26                                                     /S Thomas Betts
27                                                     NAME

28


                                                                                              Exhibit A
                                                                                                 020
 Case 2:22-cv-01806 Document 2-1 Filed 03/18/22 Page 12 of 12 Page ID #:23
021


 1                                      SERVICE LIST
                           Chris Manderino v. Kansas City Chiefs, et. al.
 2                                WCAB Case No.: Unassigned
 3 Workers' Compensation Appeals Board

 4 2 Macarthur Place, Suite 600
   Santa Ana, CA 92707
 5

 6 Chris Manderino
   356 Song Bird
 7 Beaumont, CA 92223

 8
   Cincinnati Bengals
 9 1 Bengals Drive
   Cincinnati, OH 45204
10

11 Kansas City Chiefs
   One Arrowhead Dr
12 Kansas City, MO 64129

13
   Berkley Entertainment Irving
14 PO Box 141299
   Irving, TX 75014
15

16

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                                                  2
                                                                            Exhibit A
                                                                               021
